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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                          CASE NO.: 1:21-cv-20706-GAYLES/TORRES

  MEUDY ALBÁN OSIO in her personal capacity
  and in her capacity as the personal representative
  of the Estate of FERNANDO ALBERTO ALBÁN,
  FERNANDO ALBÁN OSIO, and MARIA FERNANDA
  ALBÁN OSIO,

         Plaintiffs,
  v.

  NICOLAS MADURO MOROS, FUERZAS
  ARMADAS REVOLUCIONARIAS DE COLOMBIA
  (“FARC”), THE CARTEL OF THE SUNS A.K.A.
  CARTEL DE LOS SOLES, VLADIMIR PADRINO
  LOPEZ, MAIKEL JOSE MORENO PEREZ; NESTOR
  LUIS REVEROL TORRES, and TAREK WILLIAM
  SAAB,

        Defendants.
  ___________________________________/

                                               ORDER

         THIS CAUSE comes before the Court on Plaintiffs’ Unopposed Motion for Final

  Turnover Judgment as to Blocked Banco Bicentenario Certificate of Deposit Funds Held by

  Garnishee Italbank (the “Motion”). [ECF No. 244]. On November 8, 2024, the Court referred all

  post-judgment matters to Magistrate Judge Edwin G. Torres. On March 12, 2025, Judge Torres

  issued his Report and Recommendation (the “Report”) recommending that the Motion be granted.

  [ECF No. 383]. No party has objected to the Report.

         A district court may accept, reject, or modify a magistrate judge’s report and

  recommendation. 28 U.S.C. § 636(b)(1). Those portions of the report and recommendation to which

  objections are made are accorded de novo review, if those objections “pinpoint the specific findings

  that the party disagrees with.” United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009); see
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  also Fed. R. Civ. P. 72(b)(3). Any portions of the report and recommendation to which no specific

  objections are made are reviewed only for clear error. Liberty Am. Ins. Grp., Inc. v. WestPoint

  Underwriters, L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001); accord Macort v. Prem, Inc.,

  208 F. App’x 781, 784 (11th Cir. 2006).

         The Court has reviewed the Report and the record for clear error and agrees with Judge

  Torres’ well-reasoned analysis and conclusion that the Motion should be granted. Accordingly, it

  is ORDERED AND ADJUDGED as follows:

         1.     Magistrate Judge Edwin G. Torres’s Report and Recommendation, [ECF No. 383],

                is AFFIRMED AND ADOPTED and incorporated into this Order by reference.

         2.     Plaintiffs’ Unopposed Motion for Final Turnover Judgment as to Blocked Banco

                Bicentenario Certificate of Deposit Funds Held by Garnishee Italbank, [ECF No.

                244], is GRANTED.

         3.     Italbank shall disburse to Plaintiffs’ counsel the blocked Banco Bicentenario funds

                that Italbank holds, i.e., the $10,723,893.64 (plus accrued interest) within seven (7)

                days of this Order. Italbank shall be deemed released and absolved from any

                liability relating to the disbursement.

         DONE AND ORDERED in Chambers at Miami, Florida, this 9th day of April, 2025.




                                               ________________________________
                                               DARRIN P. GAYLES
                                               UNITED STATES DISTRICT JUDGE




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